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                                   STATEMENT OF FACTS

        On September 20, 2022, at approximately 7:33 p.m., officers with the United States Park
Police were dispatched to a call for vandalism at the Washington Monument, located at 2 15th
Street N.W., Washington, D.C. 20024. The Washington Monument is located on the National
Mall, patrolled by members of the United States Park Police. Officer Putowski arrived on scene
and saw an individual, later identified as Shaun Deaton (hereinafter, “the defendant”), in the
process of applying red paint to the side of the Washington Monument. The side of the monument
had a large blot of red paint and writing alongside that read, “Have U been fucked by this. Gov
says tough shit.”




The defendant was placed under arrest. The defendant had red paint on his clothes and hands.
Additionally, a can of red paint was recovered in the defendant’s immediate vicinity. The National
Park Service is in the process of repairing the monument. The cost of the repairs will exceed
$1000.




                                              __________________________________________
                                              OFFICER IGNAZIO ACCARDI
                                              UNITED STATES PARK POLICE

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 22nd day of September, 2022.                                Digitally signed by G.
                                                                         Michael Harvey
                                                                         Date: 2022.09.22
                                                      ___________________________________
                                                                         12:27:39 -04'00'
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE

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